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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No 19-cv-00887-RBJ


ALEXANDER ARMIJO,

        Plaintiff,

v.

LEROY GARCIA, in his official and individual capacities,

        Defendant.


                                     FINAL JUDGMENT



        In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a) the following Final Judgment is hereby entered.

        Pursuant to the Notice of Acceptance of Defendant’s Offer of Judgment [ECF No.

13] and the Minute Order of Judge R. Brooke Jackson entered on April 12, 2019 [ECF

No.15] it is

        ORDERED, ISSUED OR DECLARED:

     1. A permanent injunction is issued requiring Defendant to "unblock/unban" Plaintiff

        from the Senator Leroy Garcia Facebook page at issue in this case and to refrain

        from "blocking/banning" any individuals from, and to refrain from deleting

        comments posted on, the Senator Leroy Garcia Facebook page at issue in this

        case identified in Plaintiff’s Complaint. This injunction shall not apply to any

        postings, comments, or material containing true threats, obscenity, commercial
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     speech, and/or content reasonably subject to interpretation as being defamatory

     of third persons or in furtherance of illegal or criminal activity.

  2. Declared that Defendant's actions as alleged in Plaintiff’s Complaint

     constituted a violation of the Plaintiff's rights under the First

     Amendment to the Constitution of the United States.

  3. Judgment is entered in favor of the Plaintiff and against the

     Defendant in the principal amount of$25,000, such amount to be

     inclusive of (a) all damages suffered and alleged to be recoverable

     by the Plaintiff; and (b) all costs incurred by the Plaintiff in this action,

     to include, without limitation, all attorney fees recoverable by the

     Plaintiff and his legal counsel under 42 U.S.C. §1988 or otherwise;

     together with (c) post-judgment interest upon all such sums at the

     rate of 8% per annum.




       Dated at Denver, Colorado this 12th day of April, 2019.

                                                 FOR THE COURT:
                                                 JEFFREY P. COLWELL, CLERK




                                              By: s/    J. Dynes
                                                        J. Dynes
                                                        Deputy Clerk
